277 F.2d 161
    Joseph J. HEINTZ, Jr., and Pauline Heintz, Appellantsv.VILLAGE REALTY, INC., a Pennsylvania corporation; Gallagherand McManus, Inc., a Pennsylvania corporation; andCentralia Mining Company, a Pennsylvaniacorporation.
    No. 13093.
    United States Court of Appeals Third Circuit
    Argued April 5, 1960.Decided May 3, 1960.
    
      William E. Taylor, Jr., Wilmington, Del., for appellants.
      Arthur J. Sullivan, E. Dickinson Griffenberg, Wilmington, Del.  (Killoran &amp; Van Brunt, Wilmington, Del., Morris, James, Hitchens &amp; Williams, Wilmington, Del. on the brief), for appellees.
      Before McLAUGHLIN, STALEY and FORMAN, Circuit Judges.
      PER CURIAM.
    
    
      1
      In this diversity action plaintiffs sought preliminary and permanent injunctions against defendants constructing a shopping center in Swanwyck, Delaware on the ground that the construction violated certain applicable building restrictions.  After the court's refusal to allow a temporary restraint of the construction, both sides moved for summary judgment.  In granting the defense motion and denying that of plaintiffs, Chief Judge Wright held that the restrictions urged by appellants were not binding on the land involved.  His opinion fully covers the issue and does, we think, soundly and fairly decide it.
    
    
      2
      The judgment of the district court will be affirmed.  177 F.Supp. 491.
    
    